      Case 1:11-cv-01041-MJG Document 18 Filed 08/04/14 Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA ex rel.*
Kevin Ryan
                                *
              Plaintiffs
                                *
             vs.                        CIVIL ACTION NO. MJG-11-1041
                                *
TRANS1, INC.
                                *
               Defendant
*       *       *       *       *           *        *        *       *

                         ORDER CLOSING CASE

    In view of the settlement of this case:

     1.   The Order issued July 1, 2013 [Document 17] shall be
          unsealed.

     2.   The Clerk shall CLOSE THIS CASE.


     SO ORDERED, on Monday, August 04, 2014.



                                                 /s/__________
                                           Marvin J. Garbis
                                      United States District Judge
